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                 UNITED STATES DISTRICT COURT
                    DISTRICT OF NEW JERSEY


 IN RE: JOHNSON & JOHNSON
 TALCUM POWDER PRODUCTS
 MARKETING, SALES PRACTICES,
 AND PRODUCTS LIABILITY                   MDL No. 16-2738 (MAS) (RLS)
 LITIGATION

 THIS DOCUMENT RELATES TO ALL
 CASES



    PLAINTIFFS’ STEERING COMMITTEE’S MEMORANDUM IN
     SUPPORT OF MOTION FOR RECONSIDERATION OF THE
            COURT’S MARCH 27, 2024 TEXT ORDER
         FOR A FULL REFILING OF DAUBERT MOTIONS
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      Plaintiffs, by and through the Plaintiffs’ Steering Committee (“PSC”),

hereby submit this Memorandum in Support of their Motion for Reconsideration of

the Court’s March 27, 2024 Text Order (ECF No. 30260) that provides for a “full

refiling of Daubert motions” in this case. The Text Order, unaccompanied by any

written opinion providing a legal basis for the decision, is premised on: (1) recent

changes to Federal Rule of Evidence 702; (2) emergence of new relevant science;

and (3) the language of Chief Judge Wolfson’s previous Daubert Opinion. None

of the aforementioned reasons, either individually or collectively, justify a full

refiling of Daubert motions, especially where neither party made a request to do so

and there was no legal briefing or argument on the issue.

      The Text Order is not supported by the record before the Court and is in

clear error. The parties should not have to relitigate previously decided issues that

are now the law of the case simply because time has passed. The Text Order

misinterprets the impact of amendments to Rule 702 and ignores Judge Wolfson’s

prior findings that were consistent with applicable evidentiary standards and case

law. No party appealed Judge Wolfson’s April 27, 2020 Daubert Opinion, which

properly applied the preponderance of evidence standard as required by Rule 702

and its 2023 amendments. There is no sound basis for the Court to order, sua

sponte, an unprecedented full refiling of Daubert motions.




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                                 BACKGROUND

I.    History Of Litigation and Daubert Proceedings
      This MDL was created on October 4, 2016, and nearly eight years later the

number of pending cases has grown to more than 53,000, all involving plaintiffs

suffering or having passed away from ovarian cancer caused by exposure to

Defendants’ talcum powder products. At the inception of this MDL, Defendants

argued that the case should be bifurcated, focusing first on general causation

because resolution of that issue would result in dismissal of the case, thereby

sparing the parties and the Court costly and lengthy proceedings. Over the PSC’s

objection the Court determined to proceed in the manner suggested by Defendants.

Discovery and Daubert proceedings on general causation preceded the selection of

any cases for bellwether trials or any discovery on specific causation.

      Between the entry of CMO No. 12 in August 2018 (ECF No. 6966), which

provided a schedule for general causation expert witnesses and Daubert

proceedings on general causation, and July 2019, the parties served their respective

experts’ general causation reports, deposed the general causation experts, and

completed Daubert briefing on general causation issues. Thousands of pages of

Daubert briefing and exhibits were submitted to the Court on multiple issues and

opinions, including the presence of asbestos, fibrous talc, and heavy metals in the

talcum powder products, the contamination of the talcum powder products with



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other carcinogens including fibrous talc and heavy metals, biological plausibility,

and expert-specific challenges. After Daubert briefing was completed, the Court

conducted an eight-day Daubert hearing between July 22 and July 31, 2019. The

hearing culminated in a 141-page decision on April 27, 2020, addressing the

parties’ dueling Daubert motions. (ECF No. 13186). The Court declined to fully

exclude the testimony of any of the parties’ proffered general causation experts. Id.

at 140-41. The Court noted: “Importantly, the reasoning in this Court’s Opinion

applies with equal force to the remainder of the pending [general causation]

Daubert motions.” Id. at 2.

      Following the Daubert rulings, the parties continued with additional

discovery, including liability discovery. By the fall of 2021, this MDL was

proceeding toward an MDL trial to occur in late spring or early summer of 2022.

On July 2, 2021, nearly three years after Plaintiffs’ original expert disclosures,

Plaintiffs served case-specific expert reports for the six cases in the bellwether pool

and amended reports for certain general causation experts. Thereafter, Defendants

deposed each of Plaintiffs’ experts for which a new or amended report was served.

On October 14, 2021, one week prior to the deadline for Defendants to disclose

their case-specific and general causation experts, Defendants embarked on their

bankruptcy strategy that shielded Defendants from having to disclose and produce

reports for their experts. The bankruptcy proceeding was transferred to the District


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of New Jersey, and ultimately dismissed on April 4, 2023, pursuant to a decision

from the United States Court of Appeals for the Third Circuit. Only a few hours

after the first bankruptcy was dismissed, Defendants filed a second bankruptcy in

the same bankruptcy court. Following a second trial on a motion to dismiss, the

bankruptcy judge dismissed the second bankruptcy on August 11, 2023. The

dismissal order is currently on appeal before the Third Circuit.

      Defendants’ back-to-back bankruptcy filings brought this litigation to a

complete standstill for almost two years. Following the dismissal of the second

bankruptcy petition, the parties appeared for a Case Management Conference with

this Court on September 6, 2023 and discussed several issues, including the status

of expert discovery, supplemental and amended expert reports, and the scope of

future Daubert challenges.

II.   The Parties Did Not Request a Full Refiling of Daubert Motions in Their
      Letter Briefs or at the September 6, 2023 Case Management Conference

      The Text Order requiring a full refiling of Daubert motions goes well

beyond anything sought by either party. In advance of the September 6, 2023 Case

Management Conference, the parties submitted competing letters limited to the

issue of how language related to Daubert should be stated in an otherwise agreed

upon Case Management Order. In their August 23, 2023 letter to the Court,

Defendants stated that “Defendants have not decided how they will proceed in the

future with regard to such opinions they will challenge, but they ask that a


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scheduling order not handcuff them and prevent them from raising Daubert

arguments to the Court.”1 At the September 6, 2023 Case Management

Conference, Defendants further clarified that they were not seeking a total refiling

of Daubert but, instead, would focus Daubert challenges on case-specific and only

certain other issues. See Transcript of Sept. 6, 2023 Case Management Conference

at 16:17-22 (“And then when we make our Rule 702 challenges on specific

causation and other issues, if the plaintiffs think that we are not following what

Chief Judge Wolfson would have done based on 2019 science and 2020 law, they

can raise that in their opposition, we can respond, and you can rule on that.”

(emphasis added)); 17:17-24 (“When one looks at Judge Wolson’s opinion, she

used the word ‘weight’ 55 times. Now, am I going to reargue each of those 55

things? I don’t think so. But I’d like to have the opportunity depending on the

facts, depending on the circumstances, depending on the expert’s opinion. So that

is all we are asking, that we leave it open and we deal with it when the moment

arises.”).2

        The decision of the Court to undertake a full refiling of Daubert is

unprecedented, not supported by the record, and is in clear error.



1
    Defendants’ August 23, 2023 letter is attached hereto as Exhibit A.
2
 Excerpts of the transcript from the September 6, 2023 Case Management
Conference are attached hereto as Exhibit B.

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                              LEGAL ARGUMENT

I.    Legal Standards On Motion For Reconsideration
      A timely motion for reconsideration requires a finding of at least one of the

following factors: (1) an intervening change in the controlling law; (2) the

availability of new evidence that was not available when the application at issue

was decided; or (3) the need to correct a clear error of law or fact or to prevent

manifest injustice. In re Vehicle Carrier Servs. Antitrust Litig., 846 F.3d 71, 87 (3d

Cir. 2017), as amended (Jan. 25, 2017); Max’s Seafood Cafe ex rel. Lou-Ann, Inc.

v. Quinteros, 176 F.3d 669, 677 (3d Cir. 1999). Movants must identify the matters

which they believe the Judge overlooked in the ruling. Local Rule 7.1(i). “A court

commits clear error of law only if the record cannot support the findings that led to

the ruling.” Rich v. State, 294 F. Supp. 3d 266, 272 (D.N.J. 2018) (internal

quotation marks omitted); United States v. Grape, 549 F.3d 591, 603–04 (3d Cir.

2008). The movant must do more than allege that portions of the ruling were

erroneous and mere disagreement with the ruling does not suffice; the movant must

demonstrate that (1) the court’s holdings were without support in the record, or (2)

the court’s holdings would result in manifest injustice if not addressed. Grape, 549

F.3d at 603–04.




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II.   The Court’s Decision Ordering A Full Refiling Of Daubert Is Not
      Supported By The Record And Would Be Manifestly Unjust
      The Court’s Text Order calling for a full refiling of Daubert motions rests on

three unsupported bases: (1) recent changes to the Federal Rule of Evidence 702;

(2) the language of Chief Judge Wolfson’s previous Daubert Opinion; and (3)

changes to the relevant science. However, the record does not support any of these

bases, either individually or collectively, for a full refiling of Daubert motions, and

it would therefore be manifestly unjust to require the parties to once again expend

substantial time and resources fully re-litigating Daubert. This is particularly true

given the two years already lost to the MDL plaintiffs while Defendants’ bad-faith

bankruptcy cases were pending.

      A.     Amendments to Rule 702 do not support reopening Daubert
      The Advisory Committee Notes related to the 2023 amendments to Rule 702

make clear that the amendments were not intended to change the law. Instead, the

Rule was amended “to clarify and emphasize that expert testimony may not be

admitted unless the proponent demonstrates to the court that it is more likely than

not that the proffered testimony meets the admissibility requirements set forth in

the Rule.” Adv. Com. Notes to Rule 702 (2023) (emphasis added). The

preponderance standard has been an undeniable part of Rule 702 for more than

twenty years since the Advisory Committee amended Rule 702 “in response to”

the Supreme Court’s opinion in Daubert v. Merrell Dow Pharms., Inc., 509 U.S.


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579 (1993), and the many cases applying it. The 2000 Advisory Committee Note

introduced the concept that “the proponent has the burden of establishing that the

pertinent admissibility requirements are met by a preponderance of the evidence”

into Rule 702. See Adv. Com. Notes to Rule 702 (2000).

      “The Committee concluded that emphasizing the preponderance standard in

Rule 702 specifically was made necessary by the courts that have failed to apply

correctly the reliability requirements of that rule.” Adv. Com. Notes to Rule 702

(2023). See also Allen v. Foxway Transp., Inc. No. 4:21-CV-00156, 2024 WL

388133, at *3 (M.D. Pa. Feb. 1, 2024) (holding the recent amendments were

“motivated by the Advisory Committee’s ‘observation that in a number of federal

cases … judges did not apply the preponderance standard of admissibility to Rule

702’s requirements,’” which was an incorrect application of Rule 702); S.Y. v.

Roman Cath. Diocese, Case No. 20cv2605 EP CLW, 2024 WL 123133, at *2 n.9

(D.N.J. Mar. 21, 2024) (recognizing same). “Nothing in the amendment imposes

any new, specific procedures. Rather, the amendment is simply intended to clarify

that Rule 104(a)’s requirement applies to expert opinions under Rule 702.” Adv.

Com. Notes to Rule 702 (2023) (emphasis added).

      The Advisory Committee Notes are significant because, as compared to

changing the law as Defendants erroneously stated in their August 23, 2023 letter




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to the Court,3 the amendments to Rule 702 clarified the law that was already in

place. The 2023 amendments to Rule 702 are not intended to provide a carte

blanche opportunity to redo prior proceedings. The Court overlooked that the

Advisory Committee Notes make clear the recent amendments to Rule 702 did not

change the Daubert standards and a Text Order directing the full refiling of

Daubert motions premised on a change to the Federal Rule of Evidence 702 is in

clear error and not supported by the record because, as the Advisory Committee

Notes make clear, there were not changes to the preponderance standards of Rule

702.

         B.    Judge Wolfson’s April 27, 2020 Daubert Opinion is the law of the
               case

         “Under the doctrine of the law of the case, a decision on an issue made by a

court at one stage of a case should be given effect in successive stages of the same

litigation. United States v. Todd, 920 F.2d 399, 403 (6th Cir. 1990). See also Tice

v. Amer. Airlines, Inc., 373 F.3d 851, 853 (7th Cir. 2004). There is no evidence

before the Court that Judge Wolfson failed to appropriately preside over the

Daubert proceedings in this case or, more importantly, that the Court’s Daubert

rulings were in error. To the contrary, the parties had ample opportunity to appeal

the Court’s Daubert rulings if there were suspected errors, but the parties chose not



3
    See Exhibit A at 3.

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to do so. In fact, following entry of the Court’s Daubert Opinion, a subsequent

Letter Order was entered by the Court on June 24, 2020 (ECF No. 13715).4 The

Letter Order stated that “the parties appear to agree that the Court’s rulings with

respect to epidemiology and the Bradford Hill analyses are binding on all experts

who offer such opinions. The parties further agree that the Court’s rulings with

respect to Dr. Longo’s testimony will be binding on Dr. Rigler.” Letter Order at 2.

The only unresolved issues related to those experts for whom the Court had not

ruled on the motions to exclude. Id. No parties raised issue with the Court’s

findings in general, or that the Court had failed to apply the preponderance

standard, in particular. Issue cannot be raised now where there were: (1) no

appeals of the decision at the time it was entered; and (2) no change in the statutory

requirements or case law at any time since entry of the Opinion.

         “The law of the case doctrine does not limit the power of trial judges to

reconsider their prior decisions, but have noted that when a court does so, it must

explain on the record why it is doing so and take appropriate steps so that the parties

are not prejudiced by reliance on the prior ruling.” Pub. Int. Rsch. Grp. of N.J., Inc.

v. Magnesium Elektron. Inc., 123 F.3d 111, 117 (3d Cir. 1997). See also Williams

v. Runyon, 130 F.3d 568, 573 (3d Cir. 1997) (same). The record does not support a

full refiling of Daubert motions but, to the extent the Court seeks to redo Daubert,


4
    A copy of the June 24, 2020 Letter Order is attached hereto as Exhibit C.

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the parties are severely prejudiced by the absence of an explanation on the record as

to the bases for the decision.

      C.     Judge Wolfson properly applied a preponderance standard to
             Daubert

      Judge Wolfson’s Opinion demonstrates that she had a full understanding of

her role overseeing Daubert and was fully versed in Rule 702 and the law

governing the Daubert analysis. The 141-page opinion painstakingly reviewed the

governing law and the Court’s role as a gatekeeper of admissible evidence. At the

outset of the Daubert Opinion, Judge Wolfson stated:

      It is well-established that “Rule 702 embodies a trilogy of restrictions
      on expert testimony: qualification, reliability, and fit.” Ruggiero v.
      Yamaha Motor Corp., U.S.A., 778 F. App’x 88, 93 (3d Cir. 2019)
      (quoting Schneider ex rel. Estate of Schneider v. Fried, 320 F.2d 396,
      404 (3d Cir. 2003)). In Daubert v. Merrell Dow Pharmaceuticals, Inc.,
      509 U.S. 579 (1993), the Supreme Court defined the operation and
      scope of Rule 702 with respect to expert testimony. The Daubert Court
      ruled that trial courts must perform a gatekeeping function to ensure the
      relevance and reliability of expert testimony. Id. at 589–95. In
      conducting this analysis, courts are to consider “all aspects of the
      expert’s testing: the methodology, the facts underlying the expert’s
      opinion, [and] the link between the facts and the conclusion.” ZF
      Meritor, LLC v. Eaton Corp., 696 F.3d 254, 291–92 (3d Cir. 2012)
      (alteration in original) (quoting Heller v. Shaw Indus., Inc., 167 F.3d
      146, 155 (3d Cir. 1999)). Moreover, courts must ensure that expert
      testimony reflects accepted standards within the relevant scientific and
      business communities. See In re Johnson & Johnson Derivative Litig.,
      900 F. Supp. 2d 467, 492 (D.N.J. 2012) (“[T]he Court's role under Rule
      702 is to ensure that expert testimony reflects accepted standards within
      the relevant scientific and business communities—it is not to serve as
      an umpire between competing subsets of a given community.”).

In re Johnson & Johnson Talcum Powder Prod. Mktg., Sales Pracs. & Prod. Litig.,


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509 F. Supp. 3d 116, 130–31 (D.N.J. 2020).

      In entering her Order and Opinion, Judge Wolfson held true to the

requirements of Daubert and Rule 702. The Court properly applied the

preponderance standard as required by Rule 702, referencing on multiple occasions

that admissibility had to be established by a preponderance of the evidence. See In

re Johnson & Johnson Talcum Powder Prod. Mktg., Sales Pracs. & Prod. Litig.,

509 F. Supp. 3d at 147–48 (finding that Plaintiffs met their burden as to Dr. Longo

and citing to case law establishing that the Court was aware that “[t]he proponent

bears the burden of establishing admissibility by a preponderance of the

evidence.” (emphasis added)). See also id. at 187 (citing In re Processed Egg

Prods. Antitrust Litig., 81 F. Supp. 3d 412, 416 (E.D. Pa. 2015) (“Proponents of

expert testimony do not ‘have to prove their case twice—they do not have to

demonstrate to the judge by a preponderance of the evidence that the assessments

of their experts are correct, they only have to demonstrate by a preponderance of

evidence that their opinions are reliable.’” (citation omitted) (emphasis added)).

      Nowhere in Judge Wolfson’s Daubert Opinion did the Court indicate that

any standard other than a preponderance standard was appropriate for testing the

admissibility of expert evidence. Just because the Opinion does not state at every

turn that there is a preponderance standard does not mean that the court was not

applying it. To the extent such an error did occur, the time for a party to raise issue


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with such an error on appeal has long passed. It is clear error on the part of this

Court to order a full refiling of Daubert based upon the language of Chief Judge

Wolfson’s previous Daubert Opinion, especially since Judge Wolfson made clear

in the record that the preponderance standard that was applied.

      D. Recently published studies do not change the experts’ methodology
         or Judge Wolfson’s findings

      There is nothing in the record to support a full refiling of Daubert motions.

Tellingly, the recent Rule 702 Advisory Committee Notes state that “the fact that

the expert has not read every single study that exists will raise a question of weight

and not admissibility.” Adv. Com. Notes to Rule 702 (2023). Courts have

previously denied parties’ requests to fully revisit prior Daubert rulings simply

because new studies were published. See, e.g., In re Gadolinium-based Contrast

Agents Prods. Liab. Litig., 2013 WL 587655, at *11 (N.D. Ohio Feb. 13, 2013)

(holding that if the “science had changed… [the party] could propose a

supplemental expert report based upon that new science,” but could only address

materials that were not available to the expert at the time of the original report).

       Following Judge Wolfson’s 2020 Daubert decision, only a handful of

papers with new analyses have been published. As the PSC previously noted to the

Court, the recently published literature was considered by Plaintiffs’ experts and




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incorporated into their amended reports served on November 15, 2023.5 These

studies do not change the sound methodologies employed by Plaintiffs’ experts and

found acceptable by Judge Wolfson, but do affirm and strengthen the opinions of

the experts that genital exposure of talcum powder can cause ovarian cancer. For

example, O’Brien, et al. published a pooled study in the Journal of American

Medical Association in 2020.6 The O’Brien investigators pooled data from the

three (3) cohort studies: Nurse’s Health Study I and II (NHS), Women’s Health

Initiative (WHI), and the Sisters’ Study. The O’Brien study included 252,745

subjects with a total of 1,884 medically confirmed ovarian cancers. Notably,

O’Brien found there was a significantly elevated risk in women with patent (open)

reproductive tracts (RR 1.13; CI 1.01-1.26). In addition, a statistically significant

increased risk was noted in frequent users (at least weekly).

        Historically, systematic reviews of talcum powder use and ovarian cancer
                                                                        P14F    P




focused on “ever use,” a non-specific exposure which can obscure meaningful

associations. As recently as 2022, Drs. Woolen, Lazar, and Smith-Bindman7



5
    The PSC’s November 27, 2023 letter is attached hereto as Exhibit D.
6
 O’Brien et al., Association of Powder Use in the Genital Area with Risk of
Ovarian Cancer. 323 JAMA 49 (2020); O’Brien et al., Supplementary Online
Content (2020).
7
 Dr. Rebecca Smith-Bindman is an epidemiologist and serves as a general
causation expert for the PSC in this litigation.

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conducted a systematic review and meta-analysis of observational studies to P15F   P




estimate the association between frequent (at least 2 times per week) genital

talcum powder use and ovarian cancer.8 This review reported that frequent talcum

powder use was associated with a statistically significant 47% increased risk of

ovarian cancer.

      Irrespective of whether the recent publications are qualitatively better for

plaintiffs or better for defendants, it is clear that the articles do not change or

undermine the methodologic foundation of Judge Wolfson’s Daubert opinion.

      What Judge Wolfson concluded at the time of her Daubert ruling remains

true today:

              Ultimately, the question of whose experts are correct is a
              question for the jury; it would be erroneous for this Court
              to make those factual findings on a Daubert motion.

In re Johnson & Johnson Talcum Powder Prod. Mktg., Sales Pracs. & Prod. Litig.,

509 F. Supp. 3d at 118.

        It is clear error for the Court to order a full refiling of Daubert motions

based upon an “emergence of new relevant science” when, in fact, the science is

not new. Instead, researchers continue to evaluate the existing science and publish

based upon those evaluations.


8
 Woolen, SA, et al., Association Between the Frequent Use of Perineal Talcum
Powder Products and Ovarian Cancer: a Systematic Review and Meta-analysis, J.
Gen. Intern. Med. (2022).

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      E.    Case law does not support a decision to refile Daubert

      Since December 2023 when the amendments to Rule 702 became effective,

several courts have addressed the question of whether the amendments require either

a refiling of prior Daubert proceedings or a change in the applicable Daubert

standards. Courts considering the issue have held there is no need to revisit prior

Daubert proceedings or to engage in a different manner of handling Daubert. For

example, in In re: Social Media Adolescent Addiction/Personal Injury Prods. Liab.

Litig., No. C 22-MD-03047-YGR, MDL No. 3047, Judge Yvonne Gonzalez Rogers

discussed what impact, if any, the amendments to Rule 702 imposed. Judge Robers

stated that the amendments did not result in any substantive changes:

      THE COURT: In terms of you say the new Rule 702, 702
      was amended to make it clear to district judges what the rule
      actually is.
      MR. SCHMIDT: Yes.
      THE COURT: And was. Substantively it hasn’t
      changed.
      MR. SCHMIDT: Yes.
      THE COURT: It was encouraging us to do more.
      I have to say that in this district our judges were doing
      it anyway.
      MR. SCHMIDT: Yes.
      THE COURT: And so I don’t think in my view it’s
      changed.




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See Excerpts of January 26, 2024 Transcript of Proceedings in In re: Social Media

at 32:1-32:22.9

      Similarly, in In re: Bair Hugger Forced Air Warming Devices Prods. Liab.

Litig., No. 15-2666-JNE-DTS, the court denied a request by Defendants to renew

motions to exclude plaintiffs’ general causation medical experts premised on

amendments to Rule 702. The Bair Hugger defendants, in addition to arguing

“[t]he amendments to Rule 702 changed the law” also argued “[t]he science in the

intervening years also justifies revisiting general causation.” See January 9, 2024

letter brief in In re: Bair Hugger, 15-md-02666-JNE-DTS, Dkt. No. 2387, at 1.10

In a Text Order, the Bair Hugger court denied defendants’ request for leave to file

a renewed motion to exclude Plaintiffs’ general causation medical experts. See In

re: Bair Hugger Text Order, Dkt. No. 2393.11 See also Mills v. City of

Philadelphia, No. CV 14-593, 2024 WL 1253688, at *2 n.5 (E.D. Pa. Mar. 22,

2024) (holding that amendments to Rule 702 do not change existing law but,

instead, simply clarify the correct standards to be applied); Thomas v. State Farm



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 A copy of excerpts of the January 26, 2024 In re: Social Media transcript are
attached hereto as Exhibit E.
10
  A copy of the Bair Hugger defendants’ January 9, 2024 Letter is attached hereto
as Exhibit F.

 A copy of the January 30, 2024 Bair Hugger Text Order is attached hereto as
11

Exhibit G.

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Mut. Auto. Ins. Co., No. 4:22-CV-724 RLW, 2024 WL 195752, *2 n.1 (E.D. Mo.

Jan. 18, 2024) (recognizing that “[t]he Court’s decision regarding the admissibility

of Plaintiff’s expert would be the same under either version of the Rule.”).

                                  CONCLUSION
      The March 27, 2024 Text Order calling for a full refiling of Daubert

motions is clearly erroneous and not supported by the record. Requiring a full

refiling of Daubert motions would also result in manifest injustice to the parties

given the extraordinary amount of time and resources required to relitigate the

same issues again. At most, the record supports a finding that Daubert hearings on

newly designated experts or, possibly, limited Daubert hearings on discrete issues

disclosed in supplemental and/or amended reports may be warranted.



Dated: April 4, 2024                   Respectfully submitted,

                                       s/ Michelle A. Parfitt
                                       Michelle A. Parfitt
                                       ASHCRAFT & GEREL, LLP
                                       1825 K Street, NW, Suite 700
                                       Washington, DC 20006
                                       Tel: 202-335-2600
                                       mparfitt@ashcraftlaw.com

                                       s/ P. Leigh O’Dell
                                       P. Leigh O’Dell
                                       BEASLEY, ALLEN, CROW, METHVIN
                                       PORTIS & MILES, P.C.
                                       218 Commerce St.
                                       Montgomery, AL 36104


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                                 Tel: 334-269-2343
                                 leigh.odell@beasleyallen.com

                                 Plaintiffs’ Co-Lead Counsel

                                 s/ Christopher M. Placitella
                                 Christopher M. Placitella
                                 COHEN, PLACITELLA & ROTH, P.C.
                                 127 Maple Ave.
                                 Red Bank, NJ 07701
                                 Tel: 732-747-9003
                                 clpacitella@cprlaw.com

                                 Plaintiffs’ Liaison Counsel




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